Case 2:23-cv-01495-JHC Document 202-7 Filed 04/25/24 Page 1 of 10




                     EXHIBIT G
Case 2:23-cv-01495-JHC Document 202-7 Filed 04/25/24 Page 2 of 10




                    In the Matter of:

                 Amazon eCommerce

                   September 27, 2022
                     Jeff Blackburn




               Condensed Transcript with Word Index




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             Case 2:23-cv-01495-JHC Document 202-7 Filed 04/25/24 Page 3 of 10
                                                     Blackburn
Amazon eCommerce                                                                                      9/27/2022
                                                        201                                                    203
  1                                                            1   there?
  2                                                            2       A Jeff Bezos. His security team
  3                                                            3   asked a few of us if we could start to
  4                                                            4   communicate that way rather than text.
  5                                                            5       Q And you said a few of you, was
  6                                                            6   that the S-Team?
  7                                                            7       A I can't remember if it was S-Team
  8                                                            8   or his direct reports, but it was some senior
  9                                                            9   group, yeah.
 10                                                           10       Q Do you recall who on Mr. Bezos'
 11                                                           11   security team asked you to begin using Signal?
 12                                                           12       A No.
 13                                                           13       Q How big is his security team?
 14                                                           14       A The security team is a pretty big
 15                                                           15   team. There's a group -- I'm talking in the
 16                                                           16   past -- was responsible for his office and that
 17                                                           17   group is maybe four or five people.
 18                                                           18       Q Do you still use Signal for work
 19                                                           19   today?
 20                                                           20       A No.
 21                                                           21       Q Are you familiar with Signal's
 22                                                           22   disappearing message feature?
 23      Q    You can put that document aside.                23       A Yes.
 24          MS. BOLLES: I know this has been                 24       Q Have you ever used Signal's
 25      going an hour, but I do need a top off on            25   disappearing message feature on messages about

                                                        202                                                    204
  1       water, is everybody okay?                            1   work?
  2           MS. WILKINSON: Sure.                             2       A No.
  3           (Brief recess.)                                  3       Q And just to be clear, when I say
  4   BY MS. BOLLES:                                           4   "use," I mean whether or not you turned on the
  5       Q We've seen reference to "JBlack"                   5   disappearing message feature, if it was on,
  6   all one word in the documents.                           6   that's what I mean by "use"; is that fair?
  7       A Yes.                                               7       A Yes, but I didn't use it a lot. I
  8       Q Is that you?                                       8   mean, I literally had a few different people
  9       A Yes.                                               9   that I would use it with. And then it's not
 10       Q Mr. Blackburn, are you familiar                   10   like a primary way that I was communicating or
 11   with an app called Signal?                              11   anything like that in the company. And I
 12       A Yes.                                              12   wasn't, like, very familiar with those
 13       Q What is Signal?                                   13   functions that you're discussing. I only later
 14       A It's a messaging app that's kind                  14   learned that, you know, these are -- about all
 15   of more secure than texting.                            15   that functionality.
 16       Q Have you ever used Signal for                     16            MS. WILKINSON: You're talking
 17   work?                                                   17       about your use of Signal, generally.
 18       A Yes.                                              18            THE WITNESS: Yes.
 19       Q When did you begin using Signal                   19            MS. WILKINSON: She was asking
 20   for work?                                               20       about just the function. But you're
 21       A I started -- it's the beginning of                21       saying you didn't even use Signal.
 22   2019, around there. It was related to Jeff.             22            THE WITNESS: I used it just for
 23   He likes security and wanting us to have a more         23       the messaging application. I later on
 24   secure way to text.                                     24       learned that there's a lot more
 25       Q And which Jeff are you referencing                25       functionality to it and that was after I

                                                                                            51 (Pages 201 to 204)
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           Case 2:23-cv-01495-JHC Document 202-7 Filed 04/25/24 Page 4 of 10
                                                  Blackburn
Amazon eCommerce                                                                                    9/27/2022
                                                    205                                                      207
  1       had come back to the company.                    1   Signal about work?
  2   BY MS. BOLLES:                                       2       A Jeff Bezos, Andy Jassy,
  3       Q So you learned about the                       3   Mike Hopkins, Jen Salke. Probably a few of my
  4   disappearing message feature after you came          4   other direct reports. Maybe Steve Boom. Maybe
  5   back to the company?                                 5   my finance leader. But it's a group of roughly
  6       A Yes.                                           6   that size. I could probably count them on one
  7       Q Just to be clear, prior to leaving             7   hand or two.
  8   the company, did you use the disappearing            8       Q Have you ever communicated about
  9   message feature on Signal messages?                  9   Prime Video on Signal?
 10       A I think it's default on.                      10       A Probably.
 11       Q So might you have?                            11       Q Have you ever had the disappearing
 12       A I didn't use it.                              12   message feature turned on when discussing
 13       Q Might you have used the                       13   Prime Video?
 14   disappearing message feature?                       14       A No, not that I know of.
 15       A I mean, I don't know.                         15       Q Have you communicated about
 16       Q Did you receive any formal or                 16   business strategy on Signal?
 17   informal instructions on how to use Signal?         17       A Perhaps. It's not something I
 18       A I was told at a certain point by              18   would typically do. It's mainly meant for
 19   our legal team to change.                           19   short messages and our longer communications
 20           MS. WILKINSON: You don't want to            20   are all, as you've seen in the documents
 21       reveal privileged information. All you          21   obviously, you have e-mail in our documents and
 22       can say is --                                   22   things like that. But I may have. I can't say
 23           THE WITNESS: -- I was told by our           23   that I have definitively, but I haven't talked
 24       legal.                                          24   about strategy on Signal. I might have.
 25           MS. WILKINSON: -- to take certain           25       Q Have you ever had the disappearing

                                                    206                                                      208
  1       actions.                                         1   message feature turned on when discussing
  2   BY MS. BOLLES:                                       2   business strategy on Signal?
  3       Q Other than from your legal team or             3       A I don't know. I'm not -- like I
  4   counsel, did you receive any formal or informal      4   was saying, I'm not really familiar with that
  5   instructions on how to use Signal?                   5   or I wasn't when I was using Signal.
  6       A No.                                            6       Q Have you communicated about
  7       Q Did you receive any instruction                7   potential or actual acquisitions on Signal?
  8   from Mr. Bezos' security team as to how to use       8       A I don't know.
  9   it?                                                  9       Q What topics would you typically
 10       A No.                                           10   communicate about on Signal?
 11       Q To your knowledge, does Amazon                11       A Typically, it would be things like
 12   have a policy about Signal usage by employees?      12   can you do a call later today? Can you do this
 13       A Well, the legal team put out --               13   meeting? What did you think of that? Should
 14   that's the only thing.                              14   we have another conversation? Do we need a
 15       Q So that's the only policy that                15   further review of X or Y. You know, that's
 16   applied to Signal was from your legal counsel?      16   what I remember using it for.
 17       A I don't know if it's a policy                 17       Q Why did you want to use an
 18   even. It was just guidance on Signal.               18   encrypted messaging app to have those
 19       Q Have you asked anyone else to use             19   communications?
 20   Signal for work?                                    20       A I didn't want to. I didn't want
 21       A Maybe people just in -- maybe                 21   to. I was fine using text and e-mail. It
 22   certain people that work closely in a group         22   happened. And Jeff had this incident -- I
 23   with Jeff, I might have, yes. But I don't           23   don't really know what happened actually, but I
 24   remember specifically doing that.                   24   suspect that it was because of a hack or
 25       Q Who have you communicated with on             25   something that happened to him, we were asked

                                                                                          52 (Pages 205 to 208)
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           Case 2:23-cv-01495-JHC Document 202-7 Filed 04/25/24 Page 5 of 10
                                                       Blackburn
Amazon eCommerce                                                                                      9/27/2022
                                                       209                                                         211
  1   to use a more secure messaging system. I                1    They have it all. They did it multiple times.
  2   understood, and I used it.                              2        Q Who did you give your phone to?
  3       Q Did you ever manually delete                      3        A A lawyer.
  4   messages from Signal?                                   4        Q Was it one of your lawyers here
  5       A Not that I remember, no.                          5    today? Just the name of the lawyer, none of
  6       Q Other than the use of the                         6    the content of the communications.
  7   disappearing message feature or by manually             7        A I don't know who it was. My
  8   deleting Signal messages, have you retained all         8    assistant did it.
  9   of your messages on Signal?                             9        Q Do you recall the dates of the
 10       A Yes. I mean, I don't use it any                  10    Signal message collections?
 11   longer, as I said. I copied my phone. You've           11             MS. WILKINSON: I'm going to
 12   got all the information. It's all there. So            12        object. I don't think he even knows what
 13   you know everything.                                   13        that means when you say "collections"
 14       Q I understand you no longer use it,               14        because it's something the lawyers do.
 15   did you delete the app off your phone?                 15             MS. BOLLES: I think we were just
 16       A It's not on my current phone. I                  16        talking about when Signal messages were
 17   have a new phone.                                      17        collected off his phone. My question is
 18       Q When did you upgrade your phone?                 18        what dates was that.
 19       A I don't know.                                    19             THE WITNESS: I don't know when
 20       Q Is it the iPhone 14?                             20        that was.
 21       A Yes.                                             21    BY MS. BOLLES:
 22       Q So after that came out you                       22        Q Do you recall the years or year?
 23   upgraded your phone?                                   23        A There's some things that lawyers
 24       A I don't know.                                    24    were handling so you'd have to ask them. They
 25       Q I'm just trying to get a ballpark.               25    would know.

                                                       210                                                         212
  1   Was it the last month, the last week?                   1        Q Do you know if Amazon also took a
  2       A It wasn't in the last month or                    2    forensic image of your phone?
  3   last week, no.                                          3        A I believe they did, yeah. I was
  4       Q Last six months?                                  4    told that that's the way it works and I know
  5       A Sometime in the last 12 months, I                 5    that it happened multiple times, but that's all
  6   would say.                                              6    I know.
  7       Q Do you need an account to use                     7        Q Do you know why it happened
  8   Signal?                                                 8    multiple times?
  9       A I don't know. I think so, yes.                    9        A No.
 10   Yes, you have to have some way to have your            10        Q Did Amazon also forensically image
 11   name, so there has to be some kind of account.         11    your company-issued laptop in connection with
 12       Q Do you know if you still have a                  12    this matter?
 13   Signal account?                                        13        A I think so. But I'm not sure.
 14       A I don't know. I don't use it.                    14        Q Did you have to relinquish your
 15       Q Amazon collected Signal messages                 15    laptop at that time?
 16   off your phone, right?                                 16        A I did, but my assistant would have
 17       A Yes.                                             17    just done it.
 18       Q Do you recall if that was during                 18        Q Who is your assistant?
 19                                                          19        A Sharon Signorelli.
 20       A I don't recall. I know there were                20        Q Do you know if Amazon collected
 21   multiple times that it was done and we provided        21    your personal e-mails from Outlook or e-mail
 22   my phone both times for as long as you wanted,         22    for this matter?
 23   and you got it. So I don't know -- I don't             23        A I don't know.
 24   know anything about how that works. All I know         24        Q I'm going to hand you Plaintiff's
 25   is someone took my phone. They took all of it.         25    Exhibit 1585.

                                                                                             53 (Pages 209 to 212)
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           Case 2:23-cv-01495-JHC Document 202-7 Filed 04/25/24 Page 6 of 10
                                                  Blackburn
Amazon eCommerce                                                                                  9/27/2022
                                                  213                                                       215
  1           (Copy of text messages was marked          1    model."
  2       PX1585 for identification.)                    2             Do you see that?
  3   BY MS. BOLLES:                                     3         A Yes.
  4       Q Have you reviewed the document?              4         Q What does that mean?
  5       A Yeah.                                        5         A It means that some of this -- in
  6       Q Do you recognize this document?              6    our estimation of what -- some of this older
  7       A It looks like messages, text                 7    intellectual property like Creed or Rocky or
  8   messages between myself and Jen Salke.             8    Bond was probably more valuable to us than kind
  9       Q Do you see at the bottom it says             9    of our finance team was thinking.
 10   "You set disappearing message time to one         10         Q And why is that?
 11   week"?                                            11         A Because new ideas come along and
 12       A Yes.                                        12    ways to create new projects that we -- that the
 13       Q Does that indicate that these are           13    modelers don't think about. Like, for example,
 14   Signal messages?                                  14    here it looks like there's opportunity around a
 15       A I don't know. You would know. I             15    game for James Bond. That would not be
 16   think so. I don't know what it looks like. I      16    something that you would capture in that model.
 17   don't remember what the UI looks like for         17    It's a new opportunity. That's my opportunity.
 18   Signal. That doesn't look like Apple texting      18    I'm just stating it here. It's kind of a
 19   to me.                                            19    texting thing.
 20       Q And do you have a disappearing              20         Q After that message was sent,
 21   message function on your text messages?           21    that's where it says "You set disappearing
 22       A No. But there's many different              22    message time to one week," right?
 23   messaging apps. I use the Wickr one now.          23         A I don't know what that is.
 24       Q Other than Wickr and Signal and             24         Q So you don't recall setting the
 25   text message, have you used any other messaging   25    disappearing message time in May of 2021?

                                                  214                                                       216
  1   apps for work?                                     1        A No.
  2       A No.                                          2        Q Do you recall if you continued to
  3       Q So it appears that you are                   3    discuss with Miss Salke and Mr. Hopkins
  4   messaging with Jennifer Salke; is that right?      4    Prime Video on Signal?
  5       A That's what this looks like, yes.            5        A I don't know that we did very
  6       Q And then at the top it says                  6    much. I don't remember doing it very much, no.
  7   "JBlack and Mike."                                 7    I mean, if we did, it was only in a very
  8            Do you see that?                          8    limited way.
  9       A Yes.                                         9        Q At the bottom of the screen it
 10       Q Do you know who Mike is?                    10    says "Tuesday, July 13," but then it's cut off.
 11       A That's probably Mike Hopkins.               11            Do you recall if anything happened
 12       Q There are two dates on the screen.          12    on Tuesday, July 13, 2021, on Signal?
 13   One is Monday, May 24, and one is July 13.        13        A No.
 14            Can you confirm the year of these        14        Q I'm going to hand you what's been
 15   messages? My understanding is that it is 2021,    15    marked as PX1586.
 16   but I would like to know if you agree with        16            (Copy of text messages was marked
 17   that.                                             17        PX1586 for identification.)
 18       A Okay. Yeah, this is very shortly            18        Q Have you had a chance to review
 19   after I came back to the company.                 19    the document?
 20       Q And was that in 2021?                       20        A Yeah.
 21       A Yes.                                        21        Q This document at the top says
 22       Q At the bottom of the screen, you            22    "MHJS."
 23   write, "Thumbs up emoji. Jim Freeman, was         23            Do you see that?
 24   good, kind of what you've been saying all         24        A Yes.
 25   along, old IP, more valuable to PV versus         25        Q Is that Mike Hopkins,

                                                                                        54 (Pages 213 to 216)
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           Case 2:23-cv-01495-JHC Document 202-7 Filed 04/25/24 Page 7 of 10
                                                   Blackburn
Amazon eCommerce                                                                                    9/27/2022
                                                    217                                                          219
  1   Jennifer Salke?                                      1   said. I didn't say that I didn't recall doing
  2       A I think so.                                    2   it, I don't recall the date. I got guidance
  3       Q Do you see the date at the top                 3   from our legal department, and I made the
  4   says "Tuesday, July 13"?                             4   change. And I think that happened more than
  5       A Yes.                                           5   one time, so -- and I did what they told me to
  6       Q My understanding is that the year              6   do.
  7   is 2021, but does that sound right based on the      7        Q By "more than one time," do you
  8   context of this document?                            8   mean like on multiple threads?
  9       A I don't know. I don't have this                9        A No. No. There is at least one
 10   information.                                        10   time period. There may have been two. They
 11       Q This says "On Tuesday, July 13,               11   said, This has this functionality in it. You
 12   you disabled disappearing messages."                12   need to turn it off.
 13           Do you see that?                            13             MS. WILKINSON: Okay. You can't
 14       A Yes.                                          14        say more. You can say you received
 15       Q Do you recall disabling                       15        guidance on several occasions and after
 16   disappearing messages on July 13?                   16        that you turned it off.
 17       A No, but I know that I did at some             17             Is that fair?
 18   point.                                              18             THE WITNESS: Yes. I think that's
 19       Q You did at some point disable                 19        what you're seeing here.
 20   disappearing messages?                              20   BY MS. BOLLES:
 21       A Yes.                                          21        Q Did you receive a document
 22       Q Was that after you learned about              22   preservation notice in this matter?
 23   the disappearing message functionality?             23        A I don't know.
 24       A Yes. Someone explained how it                 24        Q Do you know if you're currently
 25   worked.                                             25   under a document preservation notice in this

                                                    218                                                          220
  1       Q And was that when you came back to             1   matter?
  2   Amazon in 2021?                                      2        A Yes, I am.
  3       A I don't remember when it was                   3        Q When did that begin?
  4   exactly, the timing of that.                         4        A I don't know.
  5       Q Was it after you came back to                  5        Q How do you know that you're
  6   Amazon?                                              6   under -- I want to be clear.
  7       A So this is like --                             7        A I don't know what this matter is
  8            MS. WILKINSON: I think --                   8   for. There's multiple things going on here.
  9            THE WITNESS: My lawyers have                9   There's many, many different matters for which
 10       talked to me about this stuff.                  10   I get document preservation notices, so I can't
 11            MS. WILKINSON: Can we consult off          11   tell you specifically. When you say "for this
 12       the record for a moment?                        12   matter," the best way to answer is I don't
 13            MS. BOLLES: Yes, and if you want           13   know. Yes, am I aware that I get document
 14       to step outside, that's fine.                   14   preservation notices, yes, I am.
 15            MS. WILKINSON: Let's step                  15        Q Did you receive a document
 16       outside.                                        16   preservation notice in connection with
 17            (Brief recess.)                            17
 18   BY MS. BOLLES:                                      18      A Yes.
 19       Q I think we established before we              19      Q Did you receive a document
 20   took a short break that you did not recall          20   preservation notice in connection with any
 21   disabling disappearing messages on July 13; is      21   other FTC investigations?
 22   that right?                                         22      A I believe I have, yes.
 23            I might have that wrong so please          23      Q Do you recall when that was?
 24   correct me if I'm wrong.                            24      A No.
 25       A I don't recall the date is what I             25      Q I want to be clear that I'm not

                                                                                          55 (Pages 217 to 220)
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           Case 2:23-cv-01495-JHC Document 202-7 Filed 04/25/24 Page 8 of 10
                                                  Blackburn
Amazon eCommerce                                                                                  9/27/2022
                                                  221                                                         223
  1   asking for your advice of counsel, the             1        object here. When you say "this matter,"
  2   boundaries that we've drawn today.                 2        there's multiple matters.
  3            What was your understanding of            3    BY MS. BOLLES:
  4   whether Signal messages were covered by the        4        Q Do you understand the matter that
  5   document preservation notices?                     5    I'm referring to?
  6            MS. WILKINSON: I'm going to               6        A No, I don't really know what
  7       object because I think it's -- if I could      7    you're getting at.
  8       assist, give him a timeframe because           8        Q Do you understand that in addition
  9       you're saying -- I think it's -- that          9    to                    there is another FTC
 10       could affect the privilege issue. So if       10    investigation?
 11       you could make it a little more specific,     11        A Yes.
 12       if you can, go ahead. He may or may not       12        Q Do you understand that you've been
 13       be able to answer.                            13    subpoenaed here today to testify as part of an
 14            MS. BOLLES: That's fair.                 14    FTC investigation?
 15   BY MS. BOLLES:                                    15        A Yes.
 16       Q At the time that you received the           16        Q Do you feel confident that you
 17   document preservation notices, did you            17    understand the scope of your document
 18   understand whether Signal messages were covered   18    preservation obligations pursuant to this FTC
 19   by them?                                          19    investigation?
 20       A I did not.                                  20        A I think I understand them in a
 21       Q Did you ever learn that Signal              21    general way. I don't know how specifically you
 22   messages were or were not covered by the          22    would want my understanding to be, the depth of
 23   document preservation notices?                    23    that.
 24       A Again, that would be something I            24            MS. WILKINSON: And there's
 25   discussed with lawyers.                           25        multiple investigations. You're implying

                                                  222                                                         224
  1             MS. BOLLES: A yes-or-no answer is        1        just two, sadly for Amazon, there's more
  2       all I'm looking for.                           2        than that.
  3             MS. WILKINSON: He said that's            3    BY MS. BOLLES:
  4       something I discussed with lawyers.            4        Q Did you receive additional
  5             MS. BOLLES: So is that a yes?            5    training on document retention in connection
  6             MS. WILKINSON: You can say yes.          6    with FTC investigations?
  7             THE WITNESS: Yes.                        7             MS. WILKINSON: Again, I'm going
  8             MS. WILKINSON: Then you just have        8        to object. Additional training? I don't
  9       to say yes.                                    9        know that you established he received any
 10             THE WITNESS: Yes. What am I             10        training. I believe he told you he
 11       supposed to say?                              11        received legal guidance.
 12             MS. WILKINSON: It's something           12    BY MS. BOLLES:
 13       lawyers focus on and we sometimes think       13        Q Did you receive training on
 14       people that aren't lawyers remember a lot     14    document retention in connection with FTC
 15       more of the details than they do. No          15    investigations?
 16       problem, you just tell her what you           16        A I received legal guidance, e-mails
 17       remember and what you don't.                  17    to me.
 18   BY MS. BOLLES:                                    18        Q Did you ever receive a training?
 19       Q I'm just looking for a yes or no            19        A What do you mean by "a training"?
 20   on this. I'm not trying to get into the           20        Q I'm just trying to establish --
 21   contents.                                         21    you testified that you had e-mail guidance.
 22             Did you receive any additional          22             Was there anything else?
 23   training in document retention in connection      23        A No.
 24   with this matter?                                 24             MS. WILKINSON: I'm going to
 25             MS. WILKINSON: I'm going to             25        object. If you're going to start asking

                                                                                        56 (Pages 221 to 224)
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           Case 2:23-cv-01495-JHC Document 202-7 Filed 04/25/24 Page 9 of 10
                                                   Blackburn
Amazon eCommerce                                                                                     9/27/2022
                                                     225                                                          227
  1      about what the training is you're going            1       A No. And, again, I received legal
  2      to get into --                                     2   guidance that that was a secure messaging app,
  3           MS. BOLLES: I'm asking about                  3   and we're using it.
  4      whether the training existed, that's all.          4       Q Have you ever asked anyone you
  5           MS. WILKINSON: Again, he asked                5   work with to use Wickr?
  6      you what it was. He told you he received           6       A I don't know. Maybe.
  7      legal guidance and he said one of the              7       Q Who do you communicate with on
  8      ways was through e-mail.                           8   Wickr?
  9           MS. BOLLES: Yes. What format was              9       A Andy Jassy, Jeff Bezos. Some of
 10      the legal guidance given in? Was it only          10   my direct reports.
 11      via e-mail?                                       11       Q How frequently do you use Wickr?
 12           MS. WILKINSON: If you've got                 12       A A couple times a week.
 13      multiple formats you can say multiple.            13       Q Have you ever messaged about
 14      Did you speak to lawyers face-to-face as          14   Prime Video using Wickr?
 15      well as receive e-mails.                          15       A I don't think so. But I may have.
 16           THE WITNESS: E-mail and                      16       Q What about discussing business
 17      conversation.                                     17   strategy, have you discussed business strategy
 18   BY MS. BOLLES:                                       18   on Wickr?
 19      Q Who was the conversation with?                  19       A It depends what you mean by
 20   I'm not asking about the contents of the             20   "business strategy."
 21   conversation, just the name of the person it         21       Q I'm happy to defer to your
 22   was with.                                            22   definition.
 23           MS. WILKINSON: You can say the               23       A Like I said, it's not kind of a
 24      name if you can remember, if it was one           24   substantial, in-depth conversations, but every
 25      or more people.                                   25   now and then something does come up and there's

                                                     226                                                          228
  1           THE WITNESS: I remember talking               1   emergency issues or urgent issues or something
  2       to Kelly Jo McArthur.                             2   like that and it does relate to business, so it
  3   BY MS. BOLLES:                                        3   does happen. It's not the primary method.
  4       Q And is that an Amazon attorney?                 4       Q Do you still use Wickr for work
  5       A Yes.                                            5   today?
  6       Q Do you recall when you spoke with               6       A Yes.
  7   them?                                                 7       Q Have you retained all of your
  8       A No.                                             8   messages about work on Wickr?
  9       Q I believe you mentioned Wickr in                9            MS. WILKINSON: I don't think he
 10   your testimony earlier.                              10       has an obligation to retain all of his
 11           What is Wickr?                               11       messages on Wickr. You're asking about
 12       A It's an Amazon messaging app.                  12       everything he does. Even with all the
 13       Q Is it also encrypted?                          13       investigations going on, I don't think
 14       A Yes. It's secure, similar to the               14       everything he does is -- he's required
 15   ways Signal was.                                     15       to, so if you could stick to what you
 16       Q Does it have an auto delete                    16       were, which is -- I'm not sure he could
 17   feature?                                             17       answer it, that could be responsive to
 18       A I don't know.                                  18       the investigations and maybe he keeps
 19       Q Have you used Wickr for work?                  19       them, but I don't want the implication
 20       A Yes, but only lightly and kind of              20       that he has to retain every message.
 21   the same way, just a handful of people. I            21            MS. BOLLES: I'm not implying
 22   don't use it for longer topics or business           22       anything.
 23   decisions or things like that.                       23            MS. WILKINSON: I know you're not.
 24       Q Do you recall the date you started             24       I want the record to be clear that that's
 25   using Wickr?                                         25       not what you're focusing on. I think

                                                                                           57 (Pages 225 to 228)
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           Case 2:23-cv-01495-JHC Document 202-7 Filed 04/25/24 Page 10 of 10
                                                    Blackburn
Amazon eCommerce                                                                                    9/27/2022
                                                    229                                                       231
  1       you're focusing on that he's required to         1        A Nope.
  2       retain.                                          2        Q What about Telegram?
  3             MS. BOLLES: Sure. And I'm happy            3        A No.
  4       to parse that later with you, but for            4        Q I believe you testified earlier
  5       now, Mr. Blackburn, have you retained all        5    that you had used text messages for work; is
  6       of your messages about work on Wickr?            6    that right?
  7             THE WITNESS: I believe that I              7        A Uh-huh.
  8       have, yes.                                       8        Q What was the purpose of using text
  9   BY MS. BOLLES:                                       9    messages for work?
 10       Q Have you ever used Slack for work?            10        A Well, it just -- it's not that I
 11       A The Twitch team uses Slack. We                11    want to, just that it -- it's kind of how when
 12   had a security incident with Twitch and at that     12    you're working very closely with people, it's
 13   time I needed to use it with them. But that's       13    just something that's done. I try very much to
 14   the only time that I was using it.                  14    not have it be my work thing. I don't want it
 15       Q And do you recall when that was?              15    to be, but external people, our relationships
 16       A The Twitch security problem was               16    with external people, they use it so then it
 17   last fall some time, November or October a year     17    starts to blend that way.
 18   ago.                                                18        Q Do you recall having deleted
 19       Q 2021?                                         19    work-related texts?
 20       A Yes.                                          20        A No.
 21       Q Do you still use Slack with the               21        Q When you transferred phones, did
 22   Twitch team?                                        22    they pull over your text messages?
 23       A No.                                           23        A I think so, yeah.
 24       Q How frequently did the Twitch team            24        Q When you transferred phones, did
 25   use Slack when it was in use?                       25    anyone at Amazon assist you with the switch?

                                                    230                                                       232
  1       A Well, you know, it was an                      1        A I think our IT department made
  2   emergency-type event, so we were using it many       2    sure all of the apps that I was using were
  3   times a day for a few weeks.                         3    refreshed, yes.
  4       Q You said "a few weeks"?                        4             MS. BOLLES: I will take a short
  5       A Yeah.                                          5        break and -- actually, let's go off the
  6       Q Do you know if you can share                   6        record.
  7   documents via Slack?                                 7             (Brief recess.)
  8       A I don't know. You can share a                  8             MS. BOLLES: Mr. Blackburn, I have
  9   link to a document, a Cloud document. So             9        no further questions for you today.
 10   that's what they would do.                          10        Thank you so much for your time.
 11       Q Do you still have -- or let me ask            11             MS. WILKINSON: We can go off the
 12   this, did you use Slack on your computer or on      12        record.
 13   your phone?                                         13             The deposition was concluded at
 14       A I used it on my phone.                        14        5:37 p.m.
 15       Q Was there an app that you had to              15
 16   download to use it?                                 16
 17       A Yes.                                          17
 18       Q Do you still have that app on your            18
 19   phone?                                              19
 20       A I might. I'm not sure. It                     20
 21   depends when I got the new phone. But I             21
 22   think -- I might. I don't use it, so -- but it      22
 23   might be on there.                                  23
 24       Q Have you ever used WhatsApp for               24
 25   work?                                               25

                                                                                          58 (Pages 229 to 232)
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